                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 UNITED STATES OF AMERICA,                       )
                                                 )
              Plaintiff,                         )
                                                 )
 v.                                              )      No.: 3:12-CR-101-TAV-CCS-13
                                                 )
 JIMMY JOHNSON,                                  )
                                                 )
              Defendant.                         )


                                          ORDER

       This criminal case is before the Court on the defendant’s Motion to Continuance

 [sic] Sentencing Hearing [Doc. 444].      The defendant moves the Court to reset the

 sentencing hearing in this matter currently set for February 27, 2014. In support, the

 defendant submits that the United States Sentencing Commission has recently announced

 that it intends to reduce offense levels by two, which counsel for the defendant believes

 will occur in November 2014. Moreover, the defendant adds, the United States Senate

 recently passed the Smarter Sentencing Act through committee, and this act appears to

 have sufficient support to become law.

       Based on the terms of his plea agreement, however, the defendant has waived his

 right to appeal his sentence, and thus he requests that the Court continue his sentencing

 hearing so that he may receive a fair sentence under the circumstances. The defendant

 contends that granting his motion until the legislative and administrative situation is

 settled will not prejudice the government and may prevent an injustice to the defendant.




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        The decision as to a continuance “‘is traditionally within the discretion of the trial

 judge.’” United States v. McMahon, 422 F. App’x 523, 525 (6th Cir. 2011) (quoting

 Ungar v. Sarafite, 376 U.S. 575, 589 (1964)). “The outer limit of a district court’s

 discretion is set by the constitutional requirements of due process . . . .” Id. In McNair,

 the defendant “requested the court to continue the sentencing hearing indefinitely, based

 on then-pending legislation regarding offenses involving crack cocaine.” United States v.

 McNair, 471 F. App’x 453, 457 (6th Cir. 2012). The district court denied the motion

 because (1) Congress had yet to change the law and (2) the court possessed discretion to

 vary based on a policy disagreement with the guidelines or in order to impose a fair and

 reasonable sentence in accordance with 18 U.S.C. § 3553(a). Id. On appeal, the Sixth

 Circuit found that “[t]his was not an abuse of discretion because the district court was not

 required to forecast potential future legislation when deciding the motion” and possessed

 the power to remedy any inequities within the guidelines. Id.

        Similarly, the Sixth Circuit has noted that “judicial economy would be at great risk

 should the court postpone proceedings every time a bill relating to the subject matter

 before the court was pending.” McMahon, 422 F. App’x at 525 (citing with approval

 United States v. Bonner, No. 09-2352, 2010 WL 226351, at *3 (3d Cir. Jan. 21, 2010), in

 which “the Third Circuit . . . rejected the notion that a court should pace sentencing

 proceedings in order to allow for the political branches to act”).

        Here, the Court likewise finds that, given the uncertainty as to when new

 legislation or sentencing guideline provisions would take effect, if at all, as well as the

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 Court’s power to depart or vary from the guidelines in order to impose a fair and

 reasonable sentence under the facts and circumstances of the case, good cause does not

 exist to continue this hearing.    Accordingly, the defendant’s motion [Doc. 444] is

 DENIED.

       IT IS SO ORDERED.



                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE




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